Case 2:04-Cv-02573-.]PI\/|-tmp Document 86 Filed 05/20/05 Page 1 of 5 Page|D 97

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IN THE UNITED sTATEs DISTRICT COURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 H£,\; 20 m 9: 51
wEsTERN DIvIsIoN

 

 

JOHN T. CR`UNK, SR., et al.,
Plaintiffs,
vs. Civ. No. 04-2573-M1[P

BDO SEIDMAN, LLP., et al.,

Defendants.

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ORDER OF TEMPORARY STAY OF SCHEDULING CONFERENCE

 

On May 19, 2005, the parties appeared before the court for a
scheduling conference pursuant to Fed.R.Civ.P. 16(b). Counsel for
all parties were present (via telephone) and heard. For good cause
shown1 the scheduling conference is hereby temporarily stayed until
such time that the court rules on the motion to stay filed by
defendants Deutsche Bank AG, Deutsche Bank Securities, Inc., David
Parse, and Craig Brubaker. The parties shall contact the chambers
of the undersigned Magistrate Judge within three (3) days after the
court rules on the motion to stay to set a scheduling conference,
if necessary.

IT IS SO ORDERED.

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W ue n/m UHDCPOnL United States Magistrate Judge

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Case 2:04-cv-02573-.]PI\/|-tmp Document 86 Filed 05/20/05 Page 3 of 5 Page|D 99

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Case 2:04-cv-02573-.]PI\/|-tmp Document 86 Filed 05/20/05 Page 4 of 5 Page|D 100

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Case 2:04-cv-02573-.]P|\/|-tmp Document 86 Filed 05/20/05 Page 5 of 5 Page|D 101

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